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October 28, 2022                                                                                                        jreiter@fisherphillips.com



Via ECF
Honorable Joan M. Azrack
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722


              Re:             Rodriguez, Individually and on Behalf of All Others Similarly Situated v.
                              Expressway Realty LLC and 3279 Food Services Corp.
                              Civil Action No. 22-cv-03453 (JMA)(LGD)________________________

Dear Judge Azrack:

        We represent Defendant 3279 Food Service Corp. (“Defendant”) in the above referenced
action. We write to respectfully request an extension of time until December 1, 2022 for all
Defendants 1 to answer, move or otherwise respond to the Complaint in this case. Plaintiff’s
counsel has consented to this extension. Defendant’s counsel was just retained, and requests
this extension in order to have sufficient time to conduct an investigation into the facts of this case
and formulate an appropriate response to the Complaint. This is Defendant’s first request for an
extension of the deadline to answer, move or otherwise respond to the Complaint, and would not
affect any other scheduled dates in connection with the above-captioned action.

                                                                      Respectfully submitted,

                                                                      s/ Justin W. Reiter

                                                                      Justin W. Reiter
                                                                      For FISHER & PHILLIPS LLP


cc:        Counsel of record (via ECF)




1   Expressway Realty LLC is also named as a Defendant in this case.
                                                              Fisher & Phillips LLP
 Atlanta · Baltimore · Bethesda Boston · Charlotte · Chicago · Cleveland · Columbia · Columbus · Dallas · Denver · Detroit · Fort Lauderdale · Gulfport
Houston · Irvine · Kansas City · Las Vegas · Los Angeles · Louisville · Memphis · Minneapolis · Nashville · New Jersey · New Orleans · New York · Orlando
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